                          IN THE IJNITED STATES DISTzuCT COURT
                                  DISTzuCT OF MINNESOTA


 Western National Mutual Ins. Co. as                  Court File   No.: 0: l6-CV-00 I 50-MJD-FLN
 subrogee of Manhew Eberhardt,

             Plaintifl

 v                                                         DEFENDANTS' RULE 26(A\(2)
                                                             EXPERT DISCLOSURES
 Daesung Celtic Enersys Co., Ltd., fka
 Daesung Celtic Co., Ltd., a foreign
 corporation, Chalienger Supply Hol<iings,
 Inc., a foreign corporation, and Quietside
 Corporation, a foreign corporation,

             Defendants



         Defendants Daesung Celtic Enersys Co., Ltd. ("Daesung Celtic"), Challenger

Supply Holdings, Inc. ("Challenger Supply"), and Quietside Corporation, now known as

Quietside LLC ("Quietside") (collectively "Defendants"), hereby provide their disclosure

of expert witnesses       as required   by Rule 26(a)(2) of the Federal Rules of Civil Procedure

and in compliance with the Court's Scheduling Order.

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                                                                         EXHIBIT G
Dated: July 1,201ó   NILAN JOHNSON LEWIS PA



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